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                         IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA,
                                 INDIANAPOLIS DIVISION


  ANNIE OAKLEY ENTERPRISES, INC. and          )
  RENEE GABET,                                )
                                              )
                Plaintiffs,                   )
                                              )
        -vs.-                                 ) The Honorable
                                              ) Mark J. Dinsmore
  RISE N SHINE ONLINE, LLC, a Florida LLC,    )
  and ERIC S. YOUNG, individually, and        ) No. 1:19-cv-01732-JMS-MJD
  AMAZON.COM, INC., a Washington              )
  Corporation,                                )
                                              )
                Defendants.                   )
                                              )


         MEMORANDUM OF LAW IN SUPPORT OF MOTION TO COMPEL
    DISCOVERY RESPONSIVE TO AMAZON.COM, INC.’S INTERROGATORIES
   NOS. 3 AND 6, AND REQUESTS FOR PRODUCTION NOS. 3, 5, 6, 8, AND 21, AND
   MOTION FOR A SUFFICIENT ANSWER TO REQUEST FOR ADMISSION NO. 4
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 I.     INTRODUCTION

        Defendant Amazon.com, Inc. (“Amazon”) respectfully moves under Fed. R. Civ. P.

 37(a)(3)(B) for an order compelling plaintiffs Annie Oakley Enterprises, Inc. and Renee Gabet

 (“plaintiffs”) to supplement their responses to Amazon’s Interrogatories Nos. 3 and 6, and

 Requests for Production Nos. 3, 5, 6, 8, and 21. Amazon further moves under Fed. R. Civ. P.

 36(a)(6) for a sufficient answer to Amazon’s Requests for Admission No. 4.

        In this action, plaintiffs have named Amazon as a defendant based on Rise ’N Shine Online,

 LLC and Eric Young’s (the “Rise ’N Shine Defendants”) sales on www.amazon.com of products

 plaintiffs accuse of trademark infringement. Plaintiffs have now settled with the Rise ’N Shine

 Defendants, but continue to pursue claims against Amazon. Notwithstanding Amazon’s tangential

 role in the underlying facts at issue, plaintiffs have served burdensome discovery on Amazon (to

 which Amazon has responded), while steadfastly resisting basic discovery requests made of any

 trademark plaintiff. Amazon’s discovery is aimed at core issues in this case: Plaintiffs have

 refused to produce the settlement agreement with the Rise ’N Shine Defendants while producing

 a different settlement agreement that plaintiffs deem favorable to their damages case. Plaintiffs

 have refused to produce any non-public documents related to the adoption or prosecution of the

 very trademarks at issue in this case. They have served evasive responses to requests for admission

 in order to avoid admitting that they have no evidence of actual confusion, despite providing no

 documents or other evidence of any actual confusion. And plaintiffs have produced no sales data

 regarding their own products whatsoever. Plaintiffs should be ordered to provide proper responses

 and documents to Amazon’s legitimate requests.

        Amazon brings this motion after failing to obtain adequate discovery production or

 responses from plaintiffs, despite numerous correspondence exchanges detailing the need and




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 relevance of the discovery dating back to June 29, 2020, and telephone calls between the parties’

 attorneys to meet and confer.

 II.    STATEMENT OF FACTS AND PROCEDURAL HISTORY

        Amazon served its discovery set on plaintiffs on March 16, 2020, which included eight

 Interrogatories, five Requests for Admission, and thirty-six Requests for Production. Declaration

 of Robert T. Cruzen In Support of Motion to Compel (“Cruzen Decl.”), Exs. A-C. Amazon granted

 plaintiffs’ request for a two-week extension of time to respond to Amazon’s discovery requests.

 Cruzen Decl. Ex. O. The extension provided that the responses and documents must be served

 electronically by May 2, 2020. Id. Despite the agreement, plaintiffs did not serve the responses

 electronically until May 6, 2020, after Amazon inquired as to why no responses or documents had

 been served. Cruzen Decl. Ex. P. Plaintiffs’ certificates of service for all of their initial discovery

 responses state they were mailed U.S. mail, first-class postage on May 1, 2020. Cruzen Decl. Exs.

 D-F. Mail versions of the documents and responses were received on May 7, 2020 after Amazon

 requested and received the tardy electronic versions of them. Cruzen Decl. ¶22. Noticeably

 missing from this initial round of discovery responses was plaintiffs’ answer to Amazon’s Request

 for Admission No. 5. Cruzen Decl. Ex. E.

        Nearly a month ago, counsel for Amazon sent plaintiffs’ counsel a letter on June 29, 2020,

 detailing deficiencies in plaintiffs’ document productions and discovery responses, including each

 issue raised in this motion, and requesting a meet and confer with a proposed date of July 1 or 2.

 Cruzen Decl. Ex. J. On July 1, counsel for Amazon again followed up on the request to meet and

 confer after receiving no response at all from plaintiffs’ counsel. Cruzen Decl. Ex. Q. On July 2,

 at approximately 4:30 p.m. Eastern, counsel for plaintiffs, Ms. Melanie Eich, finally conferred

 regarding the issues raised by Amazon, but promptly announced that she was unprepared to discuss

 any of those issues substantively. Cruzen Decl. ¶23. She committed to sending a letter responding


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 substantively to all issues on July 3. Id. During the call, counsel for Amazon requested that

 plaintiffs at least provide a copy of the settlement agreement they entered into with the Rise ’N

 Shine Defendants, and Ms. Eich stated that plaintiffs would produce the agreement (although she

 had not been involved in its drafting or execution). Id. Plaintiffs served by mail on July 2, 2020,

 supplemental responses and objections to Amazon’s First Requests for Admissions, which

 provided for the first time a response to Amazon’s Request For Admission No. 5, which was due

 more than two months earlier. Cruzen Decl. Ex. G.

        On July 3, plaintiffs’ counsel sent an email, reneging on the promise to provide substantive

 responses to the issues Amazon had raised, instead stating that she could not provide any

 substantive responses to Amazon’s meet and confer letter. Cruzen Decl. Ex. R. Amazon noted

 that it would raise the issue with the Court. Cruzen Decl. Ex. S.

        Not until July 8, 2020, did Ms. Eich respond to Mr. Cruzen’s letter including a few updates

 to plaintiffs’ responses while maintaining many of their objections refusing production or updates

 to discovery. Cruzen Decl. Ex. K. On July 10, 2020, at approximately 2 p.m. Eastern, the parties

 met and conferred (including Mr. Cruzen for Amazon and Ms. Eich and Mr. Overhauser for

 plaintiffs), but plaintiffs declined to provide a date certain at that time for amending discovery and

 producing additional documents that are the subject of this motion. However, plaintiffs’ counsel

 promised to send a letter by no later than July 13, 2020, a promise reiterated to the Court at a status

 conference on the morning of July 13, 2020. Cruzen Decl. ¶24.

        Notwithstanding the commitments made by plaintiffs’ counsel to the Court and to

 Amazon’s counsel, plaintiffs did not provide a date certain for serving documents and

 supplemental responses until July 15, 2020, after the close of business, committing to amending

 the responses and producing documents by Friday, July 24, two days after the discovery hearing




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 scheduled with the Court. Cruzen Decl. Ex. L at p.6. The parties held a final meet and confer on

 the afternoon of July 15, 2020 (including Mr. Cruzen for Amazon and Ms. Eich and Mr.

 Overhauser for plaintiffs). That conference failed to resolve each of the disputes that are the

 subject of this motion. On July 17, 2020, counsel for Amazon sent a letter confirming each of

 these disputes to plaintiffs’ counsel. Cruzen Decl. Ex. M. Plaintiffs served a supplemental

 document production and supplemental responses to Amazon’s Request for Production No. 6, on

 July 20, 2020, but yet again plaintiffs’ responses and production did not resolve the disputes at

 issue on this motion. Cruzen Decl. Ex. I.

        Although many discovery disputes have been resolved by the parties, Amazon continues

 to seek diligent and appropriate responses and productions for Interrogatories Nos. 3 and 6, five

 Requests for Production of Documents, and a Request for Admission, despite the three meet and

 confers and correspondence detailed above. In addition, to date, plaintiffs have not served Amazon

 with a privilege log, despite requests calling for documents relating to the prosecution of the

 Asserted Trademarks where no such documents have been produced.

 III.   ARGUMENT

        Federal Rule of Civil Procedure 26(b)(1) states in-part:

                Unless otherwise limited by court order, the scope of discovery is as
                follows: Parties may obtain discovery regarding any nonprivileged
                matter that is relevant to any party’s claim or defense and
                proportional to the needs of the case, considering the importance of
                the issues at stake in the action, the amount in controversy, the
                parties’ relative access to relevant information, the parties’
                resources, the importance of the discovery in resolving the issues,
                and whether the burden or expense of the proposed discovery
                outweighs its likely benefit.

 “Relevancy is construed broadly and encompasses ‘any matter that bears on, or that reasonably

 could lead to other matter[s] that could bear on, any issue that is or may be in the case.’” Hunt v.

 Hubler Chevrolet, Inc., No. 1:18-cv-01505-RLY-MJD, 2019 WL 1043163, *2 (S.D. Ind. Mar. 4,


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  2019) (citing Chavez v. DaimlerChrysler Corp., 206 F.R.D. 615, 619 (S.D. Ind. 2002) (internal

  citations omitted)). “Even when information is not directly related to the claims or defenses

  identified in the pleadings, the information still may be relevant to the broader subject matter at

  hand.” Sherwood v. Creative Hairdressers, Inc., 2:11-cv 291, 2012 WL 1563910, *1 (N.D. Ind.

  May 1, 2012). The party objecting to discovery has the burden to show with specificity why a

  particular request is improper. Hunt, 2019 WL 1043163, *2 (citing Graham v. Casey’s Gen.

  Stores, 206 F.R.D. 251, 254 (S.D. Ind. 2002)). That burden is not met by “a reflexive invocation”

  of often used boilerplate discovery objections. See id. (citing Burkybile v. Mitsubishi Motors Corp.,

  2006 WL 2325506, *6 (N.D. Ill. Aug. 2, 2006)). “When discovery sought appears relevant, the

  party resisting the discovery has the burden to establish the lack of relevance by demonstrating

  that the requested discovery is of such marginal relevance that the potential harm occasioned by

  discovery would outweigh the ordinary presumption in favor of broad disclosure.” Hunt, 2019

  WL 1043163, *5 (citing Chavez, 206 F.R.D. at 619).

         A.      Plaintiffs Should Be Compelled To Respond
                 In Detail To Amazon’s Interrogatory No. 3
                 Regarding Amazon’s Laches Affirmative Defense.

                 1.      Plaintiffs’ Response To Amazon’s
                         Interrogatory No. 3 Is Incomplete And Deficient.

         Amazon served Interrogatory No. 3 on March 16, 2020, which reads:

                 Set forth plaintiffs’ contentions why laches does not bar its alleged
                 trademark infringement claims against Amazon, including when
                 plaintiffs first became aware of Amazon’s alleged infringement of
                 the Asserted Trademarks, all facts and reasons plaintiffs waited until
                 August 26, 2019 to name Amazon in this action, and any reason(s)
                 why these circumstances do not bar plaintiffs’ trademark claims
                 under the laches doctrine.

  Cruzen Decl. Ex. A.

  Rather than respond to this interrogatory, Plaintiffs objected on May 1, 2020, stating:




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                 Answer: Objection, the request is premature and calls for legal
                 conclusions. Laches is an affirmative defense, and Amazon has not
                 identified the facts it alleges support its application. Subject to the
                 objection, Plaintiffs asserted their claims against Amazon within a
                 reasonable time, especially considering that Plaintiffs attempted to
                 reach a settlement with the other co-defendants on terms that would
                 forbid supplying Amazon with further infringing products.

  Cruzen Decl. Ex. D.

         Later, Plaintiffs served a supplemental response on July 20, 2020, which added the

  following statement to their answer: “Plaintiffs tried to get Amazon to stop infringing without

  resorting to litigation by notifying Amazon of its infringement, but Amazon failed to stop

  infringing. This left Plaintiffs with no alternative but to seek redress through litigation.” Cruzen

  Decl. Ex. H. That response is inadequate at least because it never specifies when plaintiffs learned

  of Amazon’s purported infringement.

                 2.      Amazon’s Interrogatory Seeks Relevant
                         Information Regarding Its Laches Defense,
                         And Amazon Is Entitled To A Detailed Response.

         Amazon has pleaded laches as a defense (ECF No. 26 at 12), which puts this interrogatory

  squarely in the bounds of relevant discovery promoted by Fed. R. Civ. P. 26. See Knauf Insulation,

  LLC, v. Johns Manville Corp., No. 1:15-cv-00111-WTL-MJD, 2018 WL 6659726, *3 (S.D. Ind.

  June 28, 2018) (defendants alleged affirmative defenses and counterclaims that patents in suit were

  invalid, therefore discovery seeking dates of invention and reduction to practice was

  “incontrovertibly relevant”). Laches is an equitable defense that is “derived from the maxim that

  those who sleep on their rights, lose them.” Chattanoga Mfg., Inc. v. Nike, Inc., 301 F.3d 789, 792

  (7th Cir. 2002). The three elements that the defendant must prove to support a finding of laches in

  the context of a trademark infringement case are: (1) knowledge of the defendant’s use of the

  allegedly infringing mark; (2) inexcusable delay in taking action with respect to defendant’s use;

  and (3) prejudice to the party asserting the defense. Id. at 792-93.


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         The applicable statute of limitations provides guidelines for the application of the laches

  doctrine under the Lanham Act. Where a plaintiff has delayed bringing a Lanham Act cause of

  action for longer than the analogous statute of limitations, there is a presumption that such claims

  are barred by laches. See Hot Wax, Inc. v. Turtle Wax, Inc., 191 F.3d 813, 821 (7th Cir. 1999).

  Because the Lanham Act does not specify a statute of limitations, courts apply the statutory

  limitation for the most analogous state law claim. Id. In Noble Roman’s, Inc. v. Hattenhauer

  Distrib. Co., No. 14-cv-1734, 2017 WL 747536 (S.D. Ind. Feb. 27, 2017), the Court determined

  that for a Lanham Act claim where the plaintiff alleges harm to its brand (i.e., goodwill and

  reputation), the analogous state law claim is for injury to personal property, which is subject to a

  two-year statute of limitations under Indiana Code §34-11-2-4. Id. at *3 (granting summary

  judgment for defendant where plaintiff delayed more than two years after learning of the alleged

  infringement before bringing suit); see also Barrington Music Prods., Inc. v. Music & Arts Ctrs.,

  No. 16-cv-0006, 2017 WL 4683194, at *3 (N.D. Ind. Oct. 17, 2017) (“Under Indiana law, the

  analogous statute of limitations for claims to personal property is two years.”). Plaintiffs seek

  redress for alleged harm to their “goodwill” and “reputation” of their brand. ECF No. 12,

  Amended Compl. ¶¶45, 49, 54, 67, 75. Therefore, the statute of limitations applicable to plaintiffs’

  claims is two years, and their claims are presumptively barred under the doctrine of laches if

  plaintiffs delayed more than two years in bringing suit.

         In this case, plaintiffs sued Amazon in August of 2019 based on sales of the accused

  products by third parties on Amazon’s website since early 2015. Cruzen Decl. ¶25. Accordingly,

  Amazon’s interrogatory seeks from plaintiffs any factual basis they have for arguing that laches is

  not applicable to plaintiffs’ purported claims against Amazon, including when plaintiffs first

  learned of Amazon’s alleged infringement of the asserted trademarks by the accused products.




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  This date, in particular, is a critical fact at issue in this case. 1 Plaintiffs’ answer is non-responsive

  to the laches issue posed in the interrogatory, and does not state a date by when they first learned

  of the alleged infringement by Amazon. Cruzen Decl. Ex. H. Further, plaintiffs’ objection does

  not show with specificity that this interrogatory is improper, as is required by the party objecting

  to the discovery. Accordingly, Plaintiff should be ordered to respond with particularity to

  Amazon’s Interrogatory No. 3.

          B.      Plaintiffs Should Be Compelled To Respond To
                  Interrogatory No. 6 Seeking Plaintiffs’ Revenues,
                  And No Information At All Has Been Provided.
                  1.      Plaintiffs’ Response To Amazon’s
                          Interrogatory No. 6 Is Incomplete And Deficient.

          Amazon served Interrogatory No. 6 on March 16, 2020, which read:

                  Set forth plaintiffs’ revenues on a quarterly basis for each of
                  Plaintiffs’ Products since July 1, 2012.

  Cruzen Decl. Ex. A.

  Plaintiffs served a supplemental response to this Interrogatory on July 20, 2020, and stated:

                  Answer: Plaintiff does not know and cannot calculate its revenues
                  on a quarterly basis for each of Plaintiffs Products since July 1,
                  2012. To the extent Plaintiff obtains this information, it will
                  supplement this answer. Plaintiff also objects to the interrogatory
                  as not relevant and not proportional to the needs of the case,
                  considering the importance of the issues at stake in the action, the
                  amount in controversy, the parties’ relative access to relevant
                  information, the parties’ resources, the importance of the discovery
                  in resolving the issues, and whether the burden or expense of the
                  proposed discovery outweighs its likely benefit. Plaintiffs do not
                  track revenues by Product, and have changed accounting systems
                  during the timeframe specified in the interrogatory.

  Cruzen Decl. Ex. H.


  1
    Laches can be based on a plaintiff’s constructive knowledge of the alleged infringement or on
  actual knowledge. Thus, plaintiffs’ actual knowledge of alleged infringement is plainly relevant,
  even if the defense is alternatively based on their constructive knowledge (i.e. facts plaintiffs
  should have known).


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         Plaintiffs have provided no explanation for why they have no records whatsoever with

  regard to any sales data as to even one of its products bearing the Asserted Trademarks. They have

  made no showing that they do not track product sales in any way: indeed, they necessarily must

  maintain records of sales transactions for purposes of filing taxes at a minimum. They have made

  no showing that sales on a product by product basis cannot be calculated. They have not even

  produced the requested data for the period of time during which this litigation was pending, or

  even for the period of time since Amazon served this interrogatory in March of this year. Plainly,

  data for the second quarter (April-June) could have been collected, calculated, and produced, yet

  plaintiffs have provided not even that information.

         Plaintiffs have also not shown that any prior accounting system data is inaccessible or was

  destroyed, nor when the alleged change occurred. If the change occurred during pending litigation

  and led to lost data, then plaintiffs have destroyed relevant evidence. Finally, the proportionality

  objection has no merit: here, plaintiffs seek apparently hundreds of thousands if not millions of

  dollars for the alleged infringement by accused products Amazon never even sold—plaintiffs’

  theories are based on the actions of third parties. Amazon has produced extensive sales data.

  Asking that plaintiffs produce their revenue data is not disproportionate. In sum, the contention

  that plaintiffs lack any sales data for any of the products that bear the Asserted Trademarks is not

  plausible when made with regard to any modern business, and they should be ordered to respond.

  As discussed below, the information sought is relevant to Amazon’s defenses in this action.

                 2.      Plaintiffs’ Revenues Are Highly Relevant Information
                         And Plaintiffs Should Be Required To Provide Them.

         Quarterly revenues for plaintiffs’ products since July 1, 2012, as requested by this

  Interrogatory, are highly relevant. Whether, and to what extent, plaintiffs can show lost sales due

  to Amazon’s alleged infringement is critical in assessing damages: even if plaintiffs seek only



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  Amazon’s profits that resulted due to alleged trademark infringement, Amazon is entitled to

  present to the jury that plaintiffs suffered no decrease in sales as a result of the Rise ’N Shine

  Defendants’ sales of their products, because that fact would strongly suggest that the Rise ’N Shine

  Defendants’ sales were not driven by any potential confusion, and thus were not due to the alleged

  trademark infringement. See Illinois Tamale Co. v. El-Greg, Inc., 16 C 5387, 2019 WL 4395139,

  at *16 (N.D. Ill. Sept. 13, 2019) (holding that “the jury reasonably could find that a portion of El-

  Greg’s profits was due to factors other than infringement.”); see also Texas Pig Stands, Inc. v.

  Hard Rock Cafe Intern., Inc., 966 F.2d 956, 957 (5th Cir. 1992) (“The reason why Hard Rock

  Café’s profits were not awarded was…based solely on the lack of evidence showing that any of

  Defendant’s profits were the result of its infringement of the mark [because] [t]he trial court in

  granting j.n.o.v. on unjust enrichment expressly found: ‘Hard rock ‘would have sold just as many

  pig sandwiches by any other name’ and that ‘there is no basis for inferring that any of the profits

  received by [Hard Rock] from the sale of pig sandwiches are attributable to infringement.’”).

         The magnitude of plaintiffs’ sales is also directly relevant to issues related to their claim of

  trademark dilution: if plaintiffs made only minimal sales, the allegation that plaintiffs’ marks are

  “famous” and thus a household name that the general consuming public would know are wholly

  implausible. In order to prove a claim for trademark dilution under the Lanham Act, a plaintiff

  must establish the following elements: (1) the mark is “famous” and “distinctive,” (2) the

  defendant adopted the mark after it became famous, (3) the defendant “diluted” the mark through

  its use, and (4) the defendant’s use is commercial and in commerce. 15 U.S.C. § 1125(c)(1); see

  AM Gen. Corp. v. DaimlerChrysler Corp., 311 F.3d 796, 811 (7th Cir. 2002). A mark is famous

  if it is “widely recognized by the general consuming public of the United States as a designation

  of source of the goods or services of the mark’s owner.” 15 U.S.C. § 1125(c)(2)(A). If plaintiffs’




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  sales data revealed only minimal sales, the argument that their marks are “famous” under the

  Lanham Act would fail as a matter of law, because they could not show that the general consuming

  public of the United States recognize their trademarks and know that they are associated with

  plaintiffs.

          Finally, the suggestion that a request for plaintiffs’ sales data is not proportional “to the

  needs of the case” should be rejected.        Amazon has no alternate means of obtaining the

  information. Plaintiffs sued Amazon based on the conduct of third parties and now seek a

  substantial damages award from Amazon based on the third-party conduct. They should not be

  permitted to avail themselves of the Court’s resources in seeking redress from Amazon for alleged

  third-party infringement while shielding their own relevant financial data.

          C.     Plaintiffs Should Be Compelled To Produce
                 Documents Responsive To Amazon’s Request
                 For Production Nos. 5 & 6, Such As Evidence Of
                 The First Sale Of Products Bearing The Asserted
                 Trademarks And Related Marketing Documents.

                 1.      Plaintiffs’ Responses And Production Concerning
                         Requests For Production Nos. 5 And 6 Are Deficient.

          Amazon served its Requests for Production Nos. 5 and 6 on March 16, 2020. Request No.

  5 requested:

                 All documents relating to when each of Plaintiffs’ Products were
                 first sold, first offered for sale, and first appeared in any advertising
                 or marketing.

  Cruzen Decl. Ex. C.

          Plaintiffs responded to this Request on May 1, 2020, and supplemented their response and

  document production on July 20, 2020, with the following:

                 See documents responsive to Request No. 1. Additionally, see
                 supplemental documents produced herewith.

  Cruzen Decl. Ex. I.



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         Amazon served its Request for Production No. 6 on March 16, 2020, which requested:

                 Documents sufficient to show all marketing and advertising,
                 including all marketing and advertising channels, of each of
                 Plaintiffs’ Products, including catalogs, order forms, print media,
                 advertising, website and social media copy, paid promotional uses,
                 products given away for free, distributed at a discount, or distributed
                 with other incentives.

  Cruzen Decl. Ex. C.

         Plaintiffs objected to this Request on May 1, 2020, with the following:

                 Objection. Request No. 6 is overly broad and burdensome as it
                 seeks “all” documents and information that is not relevant to
                 Plaintiff’s claim and is not proportional to the needs of the case, and
                 because the term “sufficient to show” is vague. Plaintiffs’ priority
                 of use over Defendants is not an issue in this case. Without waiving
                 any objections, please see Exhibit 1 to the Complaint.

  Cruzen Decl. Ex. F.

         On July 20, 2020, plaintiffs emailed Amazon a supplemental document production and the

  following supplemental response to Request No. 6: “Additionally, see supplemental documents

  produced herewith.” Cruzen Decl. Ex. I. Plaintiffs have produced a mere handful of documents,

  showing sparse marketing activity for only a few products, and no showing has been made that

  plaintiffs sold or marketed products bearing their second trademark prior to the time they

  represented that such sales had occurred to the trademark office. Cruzen Decl. ¶26.

                 2.      Evidence Of Plaintiffs’ Products’
                         First Sale And Marketing Documents Are
                         Relevant Information, Plaintiffs’ Objections
                         Are Generic, And Their Production Is Inadequate.

         Requests inquiring into when plaintiffs’ products were first sold is standard discovery

  served in trademark cases, but they are particularly critical in this case. Plaintiffs’ second

  trademark registration was an “intent to use” application, meaning that plaintiffs were not actually

  using the mark in commerce when the application was originally filed. After taking the maximum




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  number of extensions of time, plaintiffs eventually relied upon the following specimen in support

  of their attempt to show that they had actually commenced using the trademark in commerce:




  Cruzen Decl. Ex. N (excerpt from file history of second trademark application).

         Plaintiffs’ purported specimen of use resembles a label that one would purchase at a

  stationery store. The label is not affixed to any product, as is typically the case when specimens

  of use are submitted. And it bears no resemblance to any of plaintiffs’ other branding or

  advertising. For example, plaintiffs’ Amended Complaint provides the following exemplars of

  their branding and labeling:




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  ECF No. 12-1.

         No showing has ever been made that 2011 purported specimen was used on a product. Its

  use of a lowercase letter “n,” its lack of an apostrophe before the “n” in “Rise n Shine,” and the

  lack of any reference to “Annie Oakley” all illustrate the divergence from plaintiffs’ typical

  claimed branding and use of the Asserted Trademarks. Whether products were actually sold

  bearing the purported specimen label is a critical question bearing on the validity of plaintiffs’

  trademarks. Plaintiffs’ sales and marketing related to their products are therefore plainly relevant.

         Similarly, Amazon’s Request for Production No. 6 seeks marketing and advertising

  documents, which are very likely to contain highly relevant information to issues related to claims

  or defenses in this case. The marketing and advertising documents sought are relevant to whether

  the appearance of the Accused Products and plaintiffs’ products are confusingly similar as they

  appear in marketing and advertising. See Sorensen v. WD-40 Co., 792 F.3d 712, 726 (7th Cir.

  2015) (outlining the Seventh Circuit’s seven-factor test for likelihood of confusion). Marketing

  and advertising documents also relate to the issue of plaintiffs’ first use of the marks in commerce,

  which pertains to the validity of the trademarks at issue. In addition, these documents could shed


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  light on whether the acts of infringement Amazon is alleged to have committed occurred in the

  same marketing and advertising channels employed by plaintiffs with regard to their products. Id.

  (citing “the area and manner of concurrent use” as a relevant factor in determining likelihood of

  confusion).

         Furthermore, as noted above, plaintiffs have asserted a claim for dilution, which requires a

  showing that the marks in question are famous: that is, a household name. 2 The breadth of

  plaintiffs advertising is relevant to whether their marks meet this standard. Therefore, the

  information sought by this Request is highly material.

         Plaintiffs, as the objecting party, must specifically identify how the request is improper,

  and cannot achieve this by using boilerplate objection language. Yet, plaintiffs run afoul of these

  requirements and prohibitions. Plaintiffs’ objections are generic and nonsensical. Plaintiffs have

  not shown how their sales, marketing and advertising materials are unrelated and irrelevant to their

  claim of trademark infringement or Amazon’s defenses. They have not demonstrated that the

  request is, in fact, burdensome. See Knauf Insulation, LLC v. Johns Manville Corp., No. 1:15-cv-

  00111-WTL-MJD, 2018 WL 6659726, *2 (S.D. Ind. June 28, 2018) (“Undue burden or expense,

  actual or potential, must be shown by ‘a particular and specific demonstration of fact, as

  distinguished from stereotyped and conclusory statements.’”) (citing Gulf Oil Co. v. Bernard, 452

  U.S. 89, 102 n.16 (1981). The documents and things requested are such things as plaintiffs’

  catalogs, print media, and social media advertisements. These should be clearly within plaintiffs’

  possession or control for a party selling products, let alone one who is pursuing a claim to protect




  2
    15 U.S.C. § 1125(c)(1); see AM Gen. Corp., 311 F.3d 796, 811 (7th Cir. 2002). As noted above,
  a mark is famous if it is “widely recognized by the general consuming public of the United States
  as a designation of source of the goods or services of the mark’s owner.” 15 U.S.C. §
  1125(c)(2)(A).


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  its trademark. Plaintiffs contend they have been marketing and selling products bearing the

  asserted trademarks for twenty years. ECF No. 12 at ¶19 (“Plaintiffs have been using the RISE ‛N

  SHINE Mark in commerce in connection with essential oils for personal use since at least January,

  2000”).        Yet plaintiffs have produced only a trivially small set of responsive documents:

  approximately 45 pages of web pages and email advertising, many of which are very recent, that

  do not reflect that the marks were in use at the time plaintiffs represented they were in use in their

  trademark applications, particularly with regard to the shampoos, conditioners, and body soaps

  claimed in plaintiffs’ second trademark application. Cruzen Decl. ¶26. No catalogs, print media,

  or social media have been produced, although plaintiffs have not stated that they lack any social

  media presence. Id. And no document evidencing when products bearing the second trademark

  were first sold has been produced. Cruzen Decl. ¶27. This production is clearly insufficient.

  Plaintiffs have not met their burden to show that this Request is improper, and they should be

  compelled to produce all documents responsive to this Request.

            D.       Plaintiffs Should Be Compelled To Produce
                     Documents Responsive To Amazon’s Requests For
                     Production Nos. 3 & 8 Seeking Documents Related To
                     The Adoption And Prosecution Of Their Trademarks.

                     1.     Plaintiffs’ Responses And
                            Production Regarding Requests For
                            Production Nos. 3 And 8 Are Inadequate.

            Amazon served its Request for Production No. 3 on March 16, 2020, which requested:

                     All documents relating to, considered, or reviewed in the course of
                     the prosecution of the Asserted Trademarks.

  Cruzen Decl. Ex. C.

            Plaintiffs served their supplemental response to Request No. 3 on July 20, 2020, which

  stated:




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                 See documents responsive to Request No. 1. No additional
                 responsive documents are in the possession, custody or control of
                 Plaintiffs.

  Cruzen Decl. Ex. I.

         Also, Amazon served its Request for Production No. 8 on March 16, 2020, which

  requested:

                 All Documents related to the selection, adoption, origin, any
                 inspiration, creation, and design of the Asserted Trademarks.

  Cruzen Decl. Ex. C.

         Plaintiffs’ response to Request No. 8 served on May 1, 2020, included the following

  objection:

                 Objection. Request No. 8 is overly broad and burdensome as it seeks
                 information that is not relevant to Plaintiffs’ claim and is not
                 proportional to the needs of the case. Defendants do not claim to be
                 senior users of the marks at issue. Without waiving any objections,
                 please see Exhibits 1-3 to the Amended Complaint and the
                 documents produced herewith.

  Cruzen Decl. Ex. F.

         Plaintiffs have produced no documents other than publicly available trademark prosecution

  files, and the trademark registrations themselves. Cruzen Decl. ¶28. No trademark search results

  have been produced. Id. No communications with trademark counsel with regard to either

  trademark application have been produced, though no specific privilege objection has been

  asserted. Id. Plaintiffs have produced no privilege log in this action. Id.

                 2.      Documents Regarding Plaintiffs’
                         Prosecution And Adoption Of Their
                         Trademarks Are Relevant Information And
                         Plaintiffs Have Not Provided An Adequate Production.

         The information Amazon seeks in these Requests is relevant to both the validity of the

  Asserted Trademarks, and to whether they are “famous” for purposes of plaintiffs’ dilution claim.

  See 15 U.S.C. § 1125 (c)(1); AM Gen. Corp. v. DaimlerChrysler Corp., 311 F.3d 796, 811 (7th


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  Cir. 2002). For example, if searches conducted before the applications were filed produced results

  that showed the proposed marks were ubiquitous and plaintiffs were advised not to use them, that

  would be relevant as to whether the general consuming public associated “Rise ’N Shine” uniquely

  with plaintiffs and, thus, whether the trademarks are famous rather than just one more example of

  scores of businesses that use that phrase in marketing and selling other, unrelated products. Since

  the Requests are relevant, plaintiffs’ objections do not meet their burden to identify how the

  Requests are improper or burdensome. The only documents plaintiffs have produced that could

  be considered responsive to these Requests are the public file histories of the Asserted Trademarks.

  Importantly, plaintiffs have not produced a privilege log or asserted specific privilege objections

  to either request, and Amazon cannot assess if other responsive documents are withheld based on

  privilege.   At the very least, correspondence with the trademark attorneys who prosecuted

  plaintiffs’ trademark applications, and all trademark search results related to the consideration of

  the trademarks in question should be produced. Because no specific objection on the basis of

  privilege is asserted, no documents may be withheld on that basis. Documents within plaintiffs’

  control, including documents held by plaintiffs’ trademark counsel, should be produced: “FRCP

  34 provides that discovery may be had of documents and things that are in the ‘possession, custody

  or control’ of a party. Case law is clear that when a client’s attorneys have possession of the client’s

  documents, the client is held to be in control of the documents.” Gossard v. Adia Servs., Inc., No.

  91 C 2047, 1992 WL 198424, at *2 (N.D. Ill. Aug. 11, 1992). Plaintiffs refused to state whether

  they sought documents from plaintiffs’ trademark counsel of record, including the lawyer who

  handled these trademark proceedings, in responding to the request. Cruzen Decl. ¶29.




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         Finally, any other documents reflecting consideration of using the marks on plaintiffs’

  goods, and early designs of branding and labeling, must be produced as well. No documents falling

  into any of these categories have been produced to date. Id.

         E.      Plaintiffs Should Be Compelled To Produce
                 The Missing Settlement Agreement Responsive
                 To Amazon’s Request For Production No. 21.

         Amazon served its Request for Production No. 21 on March 16, 2020, which requested:

                 All Documents, including any drafts thereof, concerning or relating
                 to the ownership of, chain of title to, and/or grant of rights in the
                 Asserted Trademarks, including, without limitation, assignments,
                 recordations, transfers of title or ownership, license agreements,
                 proposed license agreements, covenants not to sue, releases,
                 settlement agreements, or authorizations or permissions to use or
                 practice any of the Asserted Trademarks.

  Cruzen Decl. Ex. C (emphasis added).

         Plaintiffs responded on May 1, 2020, with the statement: “See responsive documents

  produced.” Cruzen Decl. Ex. F. No specific objections were asserted. Id.

         Plaintiffs produced a settlement agreement with a third-party company regarding a dispute

  that plaintiffs resolved last year. Cruzen Decl. ¶30. But they have not produced their agreement

  with the Rise ‛N Shine Online Defendants in this case. Id. When originally asked regarding this

  deficiency, plaintiffs’ counsel Ms. Eich stated that while she was not involved in the agreement in

  question, it would be produced. Id. But plaintiffs subsequently reneged on this commitment. Id.

         Plaintiffs and the Rise ’N Shine Defendants resolved their dispute prior to the May 15,

  2020, settlement conference, and filed a stipulation for entry of final judgment on May 20, 2020.

  ECF No. 59. Plaintiffs’ counsel has never denied that a written “settlement agreement” exists with

  those defendants. Cruzen Decl. ¶30. Plaintiffs’ counsel has also never denied that the settlement

  agreement contains “releases.”     Id.   That settlement agreement is relevant and documents




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  concerning or relating to both settlement agreements and releases are expressly called for in the

  request.

         Plaintiffs should not be permitted to selectively produce settlement agreements they deem

  helpful to their case while withholding documents in the same category that would be helpful to

  Amazon’s defense. For example, the settlement agreement may contain a release broad enough to

  cover Amazon, compelling its dismissal. Or the settlement agreement may reflect a low royalty

  rate for the Rise ’N Shine Defendants’ sales of accused products, which would affect the damages

  analysis in this case. “[S]ettlement agreements can be relevant to the determination of how much

  an individual claim –– such as Plaintiffs' trademark infringement claim –– is worth.” Lifeguard

  Licensing Corp. v. Ann Arbor T-shirt Co., LLC, No. 15 CIV. 8459 (LGS), 2016 WL 5936887, at

  *2 (S.D.N.Y. Oct. 11, 2016); Heritage-Nevada VIII, LLC v. World Mkt. Ctr. Venture, LLC, No.

  208CV00130PMPRJJ, 2009 WL 10693182, at *7 (D. Nev. Sept. 11, 2009) (holding “the court

  agrees with Heritage that this information is highly relevant to WMC’s trademark infringement

  claims, the request will not be limited to settlement agreements stemming from the specifically

  enumerated litigation [and] WMC must produce all agreements which are responsive to this

  request.”). In any case, plaintiffs can hardly contend that settlement agreements are not relevant

  to this action having already produced one they deem helpful to their case. Plaintiffs made no

  objection to this Request, and they should be compelled to produce the withheld settlement

  agreement with the Rise ’N Shine Defendants.

         F.      Amazon Seeks A Determination Of Sufficiency For
                 Plaintiffs’ Answer To Request For Admission No. 4.

                 1.     Plaintiffs’ Response To Request For Admission
                        No. 4 Is Incomplete, Non-responsive, And Evasive.

         Amazon served its Request for Admission No. 4 on March 16, 2020, which requested the

  following:


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                 Admit that plaintiffs do not have evidence of actual confusion
                 between the Plaintiffs’ Products and the Accused Products.

  Cruzen Decl. Ex. B.

         Plaintiffs objected to and denied this Request on May 1, 2020, with an evasive, misleading,

  and non-responsive objection. On July 2, 2020, plaintiffs supplemented their response, which did

  not cure any of the issues with their initial response. The supplemented response reads:

                 Answer: Objection, the request is irrelevant, vague and misleading
                 to the extent it is directed toward “actual confusion” as actual
                 confusion is not a mandatory element of Plaintiffs’ claims; one
                 factor in determining infringement and unfair competition is
                 “likelihood of confusion.” Moreover, discovery is ongoing.
                 Amazon has provided documents showing its sales of 195,790
                 Accused Products made in 181,932 shipments. Plaintiffs continue
                 to investigate the confusion associated with those transactions. In
                 addition, Amazon has produced document AMZ-AO_000000021
                 which appear [sic] to include a subset of its communications with
                 others regarding the Accused Products, and a multiplicity of those
                 communications reference confusion. Moreover, the US Trademark
                 Office already found that Defendant Rise N Shine Online’s use of
                 RISE N SHINE was likely to cause confusion with Plaintiffs’ mark.
                 The request is denied.

  Cruzen Decl. Ex. G.

         The response is deficient in numerous regards. As discussed below, the request seeks

  relevant information, and that discovery is ongoing is no basis to refuse to adequately respond.

  The response is also plainly evasive, as it cites documents purportedly exhibiting some general

  “confusion,” rather than the confusion “between the Plaintiffs’ Products and the Accused

  Products” that the Request expressly references.       Finally, reference to a trademark office

  examiner’s purported conclusion regarding a likelihood of confusion is wholly irrelevant regarding

  whether plaintiffs possess evidence of actual confusion.




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                 2.      Evidence Of Actual Confusion Is Relevant

         The Seventh Circuit has identified the following seven factors used to determine the

  likelihood of confusion in a trademark case: “(1) the similarly between the marks in appearance

  and suggestion; (2) the similarity of the products; (3) the area and manner of concurrent use; (4)

  the degree of care likely to be exercised by consumers; (5) the strength of the plaintiff’s mark; (6)

  any evidence of actual confusion; and (7) the intent of the defendant to ‘palm off’ his product as

  that of another.” Sorensen v. WD-40 Co., 792 F.3d 712, 726 (7th Cir. 2015) (emphasis added).

  Therefore, evidence of actual confusion is clearly relevant and plaintiffs are wrong to object to this

  Request as vague and misleading. That discovery is ongoing is no basis to refuse to admit the

  request. That the trademark office denied a registration to the Rise ’N Shine Defendants has no

  bearing on whether evidence of actual confusion exists in this case.

                 3.      Plaintiffs Have Not Identified Any Actual
                         Confusion, And Have Incorrectly Denied This
                         Request For Admission By Mischaracterizing It.

         Plaintiffs’ response that a document produced by Amazon appears to include

  communications referencing “confusion,” is an evasive attempt to cloud the issue. The document

  produced by Amazon noted by plaintiffs does not mention plaintiffs’ products or trademarks at all.

  To date, plaintiffs have not identified or provided any evidence of actual confusion as to plaintiffs’

  products. This despite the fact that they contend more than 180,000 infringing products were sold

  by the Rise ’N Shine Defendants. Thus, plaintiffs’ response referencing “a multiplicity of those

  communications reference confusion” is not responsive to the request for admission, which is

  directed not at some general concept of “confusion,” but instead only at “actual confusion between

  the Plaintiffs’ Products and the Accused Products.” Amazon raised this issue with plaintiffs on

  June 29, 2020. Cruzen Decl. Ex. J at p.3. In the parties’ subsequent meet and confers, plaintiffs’

  counsel refused to amend the supplemental response. Thus, plaintiffs’ answer does not respond to


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  the substance of the matter, and Amazon seeks a determination of its sufficiency and to require an

  amended answer be served. Fed. R. Civ. P. 36(a)(4) (“A denial must fairly respond to the substance

  of the matter”).

         G.      Plaintiffs’ Original Admission Responding
                 To Request For Admission No. 5 Should Stand.

                 1.      Plaintiffs Admitted This Request By
                         Failing To Provide Any Response Within
                         Rule 36’s Deadline Or Anytime Close To It

         Amazon served its Request for Admission No. 5 on March 16, 2020, which requested:

                 Admit that plaintiffs provided no notice to Amazon that the Accused
                 Products allegedly infringe the Asserted Trademarks prior to July
                 2019.

  Cruzen Decl. Ex. B.

         On May 1, 2020, plaintiffs responded to the first four Requests for Admission propounded

  by Amazon, but did not provide a response to Request for Admission No. 5. Cruzen Decl. Ex. E.

  More than two months later, plaintiffs served a “Supplemental Answer” to this Request for

  Admission, where they denied it for the first time. Cruzen Decl., Ex. G. Amazon’s counsel has

  repeatedly noted that plaintiffs’ attempt to “supplement” the request has no effect under Rule 36,

  but no response has been received. Cruzen Decl. ¶¶31-32 & Ex. M at p.3.

         Under Federal Rule of Civil Procedure 36, a “matter is admitted unless, within 30 days

  after being served, the party to whom the request is directed serves on the requesting party a written

  answer or objection addressed to the matter and signed by the party or its attorney.” Fed. R. Civ.

  P. 36(a)(3). Plaintiffs original response to the requests for admission included no response to

  Request No. 5. That request was therefore admitted as of the time the response to it was due and

  no response was served.




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                 2.      Plaintiffs Failed To File A Motion
                         Pursuant To Rule 36 Requesting That The
                         Court Permit Withdrawal Of Their Admission.

         Plaintiffs filed no motion seeking to withdraw the admission. Instead, they submitted a

  Supplemental Answer on July 2, 3 after Mr. Cruzen’s June 29, 2020 letter stated Amazon’s

  understanding that they admitted the request by not providing a response. Simply put, plaintiffs

  neither complied with Rule 36 nor did they seek an appropriate remedy from the Court to allow

  them to withdraw their admission. See Lawson v. Diehl Machines, Inc., No. 3:98-CV-194RP,

  1999 WL 325064, *3 (N.D. Ind. Apr. 16, 1999) (“the Rule is self-executing, meaning that no court

  intervention is required for an admission to be established.”); Owner Operator Ind. Drivers Ass’n,

  Inc. v. Comerica Bank, 615 F. Supp. 2d 692, 700 (S.D. Ohio 2009) (RFAs deemed admitted where

  plaintiffs did not object, answer, request additional time to respond, or file objection with the

  court). Plaintiffs’ admission to Amazon’s Request for Admission No. 5 should stand.

         H.      Amazon Is Entitled To Its Reasonable Expenses.

         Under Fed. R. Civ. P. 37(a)(5)(A), if “the motion is granted—or if the disclosure or

  requested discovery is provided after the motion was filed—the court must, after giving

  opportunity to be heard, require the party or deponent whose conduct necessitated the motion, the

  party or attorney advising that conduct, or both to pay the movant’s reasonable expenses incurred

  in making the motion, including attorney’s fees,” unless an exception applies (i.e., (i) the movant

  “filed the motion before attempting in good faith to obtain the disclosure or discovery without

  court action”; (ii) “the opposing party’s nondisclosure, response, or objection was substantially

  justified”; or (iii) “other circumstances make an award of expenses unjust.”).




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   The supplemental response is also evasive, because it makes no reference to any notice plaintiffs
  provided with regard to the products accused in this action, and indeed plaintiffs never did provide
  notice that the accused products allegedly infringed their trademarks before July 2019.

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         Here, none of the exceptions in Rule 37(a)(5)(A)(i)-(iii) apply. First, as discussed in

  Section II, supra, Amazon went to great lengths to obtain the discovery from plaintiffs before

  approaching the Court to seek permission to file this motion. Second, plaintiffs’ refusal to provide

  the discovery is not “substantially justified,” for the reasons given in Section III, supra. Third,

  Amazon is not aware of any “other circumstances” making an award of expenses unjust. Plaintiffs

  brought this lawsuit and if plaintiffs had cooperated in discovery, as they were supposed and

  expected to do, this motion would not have been filed. Plaintiffs, and/or the attorneys advising

  them to resist providing core trademark discovery, should be held accountable. Doing so would

  put Amazon in the same financial position it was had the motion not been filed, and might deter

  plaintiffs from resisting discovery and needlessly multiplying the disputes in the future.

  IV.    CONCLUSION

         Amazon has requested an entirely reasonable amount of discovery that is relevant to the

  claims and defenses present in this case, and plaintiffs have not provided sufficient and appropriate

  production or responses. Amazon requests that the Court compel plaintiffs to respond to Amazon’s

  Interrogatories Nos. 3 and 6, and produce documents pursuant to Amazon’s Requests for

  Production Nos. 3, 5, 6, 8, and 21. Amazon further requests the Court order an amended (and non-

  evasive) response be served by plaintiffs to Amazon’s Request for Admission No. 4.



  July 27, 2020                                 Respectfully submitted,

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                                     Counsel for Defendant
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